                    Case 15-23948                            Doc 1             Filed 07/14/15 Entered 07/14/15 11:10:45                                                            Desc Main
B1 (Official Form 1) (04/13)                                                     Document     Page 1 of 39
                                                        United States Bankruptcy Court
                                                       NORTHERN DISTRICT OF ILLINOIS                                                                                                     Voluntary Petition
                                                        EASTERN DIVISION (CHICAGO)
Name of Debtor (if individual, enter Last, First, Middle):                                                         Name of Joint Debtor (Spouse) (Last, First, Middle):
Hicks, Yarnell M.


All Other Names used by the Debtor in the last 8 years                                                             All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                        (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more                             Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):         xxx-xx-8333                                                                          than one, state all):

Street Address of Debtor (No. and Street, City, and State):                                                        Street Address of Joint Debtor (No. and Street, City, and State):
2918 W. Flournoy
Chicago, IL
                                                                                     ZIP CODE                                                                                                      ZIP CODE
                                                                                       60612
County of Residence or of the Principal Place of Business:                                                         County of Residence or of the Principal Place of Business:
Cook
Mailing Address of Debtor (if different from street address):                                                      Mailing Address of Joint Debtor (if different from street address):




                                                                                     ZIP CODE                                                                                                      ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                   ZIP CODE


                           Type of Debtor                                                 Nature of Business                                           Chapter of Bankruptcy Code Under Which
                           (Form of Organization)                                               (Check one box.)
                              (Check one box.)
                                                                                                                                                          the Petition is Filed(Check one box.)
                                                                                          Health Care Business                                    Chapter 7
        Individual (includes Joint Debtors)                                               Single Asset Real Estate as defined                     Chapter 9                      Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                             in 11 U.S.C. § 101(51B)                                                                of a Foreign Main Proceeding
                                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                                Railroad
                                                                                                                                                  Chapter 12                     Chapter 15 Petition for Recognition
                                                                                          Stockbroker                                                                            of a Foreign Nonmain Proceeding
        Partnership                                                                                                                               Chapter 13
                                                                                          Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                                         Clearing Bank
                                                                                                                                                                        Nature of Debts
                                                                                          Other
                                                                                                                                                                        (Check one box.)
                         Chapter 15 Debtors                                                   Tax-Exempt Entity                                   Debts are primarily consumer                     Debts are primarily
Country of debtor's center of main interests:                                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.                      business debts.
                                                                                          Debtor is a tax-exempt organization                     § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                              under title 26 of the United States                     individual primarily for a
against debtor is pending:                                                                Code (the Internal Revenue Code).                       personal, family, or house-
                                                                                                                                                  hold purpose."

                                    Filing Fee(Check one box.)                                                      Check one box:                      Chapter 11 Debtors
                                                                                                                          Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                                          Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach                         Check if:
        signed application for the court's consideration certifying that the debtor is                                    Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                     insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                                          on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                                Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                                    A plan is being filed with this petition.
                                                                                                                          Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                                          of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                                          THIS SPACE IS FOR
                                                                                                                                                                                                 COURT USE ONLY
        Debtor estimates that funds will be available for distribution to unsecured creditors.
        Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
        there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors


 1-49         50-99          100-199           200-999             1,000-           5,001-              10,001-                 25,001-            50,001-            Over
                                                                   5,000            10,000              25,000                  50,000             100,000            100,000
 Estimated Assets


 $0 to        $50,001 to     $100,001 to       $500,001            $1,000,001       $10,000,001         $50,000,001             $100,000,001       $500,000,001       More than
 $50,000      $100,000       $500,000          to $1 million       to $10 million   to $50 million      to $100 million         to $500 million    to $1 billion      $1 billion
 Estimated Liabilities


 $0 to        $50,001 to     $100,001 to       $500,001            $1,000,001       $10,000,001         $50,000,001             $100,000,001       $500,000,001       More than
 $50,000      $100,000       $500,000          to $1 million       to $10 million   to $50 million      to $100 million         to $500 million    to $1 billion      $1 billion

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B1 (Official Form 1) (04/13)                                                               Document     Page 2 of 39                                                                                          Page 2
                                                                                                                                             Yarnell M. Hicks
 Voluntary Petition                                                                                         Name of Debtor(s):

 (This page must be completed and filed in every case.)
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                                       Case Number:                                                        Date Filed:
 None
Location Where Filed:                                                                                       Case Number:                                                        Date Filed:



            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor:                                                                                             Case Number:                                                        Date Filed:
 None
District:                                                                                                   Relationship:                                                       Judge:



                                                        Exhibit A                                                                                                     Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                                                    (To be completed if debtor is an individual

 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                                                        whose debts are primarily consumer debts.)

 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)                          I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                             informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                             of title 11, United States Code, and have explained the relief available under each
                                                                                                             such chapter. I further certify that I have delivered to the debtor the notice
            Exhibit A is attached and made a part of this petition.
                                                                                                             required by 11 U.S.C. § 342(b).




                                                                                                            X    /s/ Mark R. Schottler                                                                 7/14/2015
                                                                                                                Mark R. Schottler                                                                         Date
                                                                                                       Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

            Yes, and Exhibit C is attached and made a part of this petition.

            No.


                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
             Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.
                                                                                        Information Regarding the Debtor - Venue
                                                                                                (Check any applicable box.)
            Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
            immediately


            There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
            Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this
            District, or has no
            principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state

                                  Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                             (Check all applicable boxes.)
            Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)

                                                                                                         (Name of landlord that obtained judgment)




                                                                                                         (Address of landlord)
            Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to
            cure the entire

            Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after
            the filing of the

            Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1) (04/13)                                                              Document     Page 3 of 39                                                                                    Page 3
                                                                                                                                         Yarnell M. Hicks
 Voluntary Petition                                                                                    Name of Debtor(s):

 (This page must be completed and filed in every case)
                                                                                                  Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                                 Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is
                                                                                                       I declare under penalty of perjury that the information provided in this petition is true
 true and correct.
                                                                                                       and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has
                                                                                                       and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
 each such chapter, and choose to proceed under chapter 7.
                                                                                                       (Check only one box.)
 [If no attorney represents me and no bankruptcy petition preparer signs the                                 I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                               Certified copies of the documents required by 11 U.S.C. § 1515 are attached.


 I request relief in accordance with the chapter of title 11, United States Code,                            Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                                 title 11 specified in this petition. A certified copy of the order granting
                                                                                                             recognition of the foreign main proceeding is attached.



 X       /s/ Yarnell M. Hicks
         Yarnell M. Hicks
                                                                                                       X
                                                                                                             (Signature of Foreign Representative)
 X
                                                                                                             (Printed Name of Foreign Representative)
       Telephone Number (If not represented by attorney)
       7/14/2015
       Date                                                                                                  Date

                                           Signature of Attorney*                                              Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                                       I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as

 X       /s/ Mark R. Schottler                                                                         defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and

         Mark R. Schottler                                                     Bar No.6238871          have provided the debtor with a copy of this document and the notices and
                                                                                                       information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                                       or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Schottler & Associates                                                                                maximum fee for services chargeable by bankruptcy petition preparers, I have
 7222 W. Cermak                                                                                        given the debtor notice of the maximum amount before preparing any document
 Suite 701                                                                                             for filing for a debtor or accepting any fee from the debtor, as required in that

 North Riverside, IL 60546                                                                             section. Official Form 19 is attached.



         (708) 442-5599
 Phone No.______________________ Fax(312) 284-4575
                                     No.______________________
                                                                                                       Printed Name and title, if any, of Bankruptcy Petition Preparer
       7/14/2015
       Date                                                                                            Social-Security number (If the bankruptcy petition preparer is not an individual,
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                       state the Social-Security number of the officer, principal, responsible person or
 certification that the attorney has no knowledge after an inquiry that the
                                                                                                       partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
 information in the schedules is incorrect.



                  Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.


 The debtor requests relief in accordance with the chapter of title 11, United States
                                                                                                       Address
 Code, specified in this petition.
                                                                                                       X
                                                                                                             Date
 X                                                                                                     Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                                       partner whose Social-Security number is provided above.
       Signature of Authorized Individual
                                                                                                       Names and Social-Security numbers of all other individuals who prepared or
                                                                                                       assisted in preparing this document unless the bankruptcy petition preparer is not
       Printed Name of Authorized Individual                                                           an individual.




       Title of Authorized Individual                                                                  If more than one person prepared this document, attach additional sheets
                                                                                                       conforming to the appropriate official form for each person.


                                                                                                       A bankruptcy petition preparer's failure to comply with the provisions of title 11
       Date                                                                                            and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                       imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




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B 1D (Official Form 1, Exhibit D) (12/09)
                                       UNITED                 STATES BANKRUPTCY COURT
                                                          NORTHERN DISTRICT OF ILLINOIS
                                                           EASTERN DIVISION (CHICAGO)
In re:      Yarnell M. Hicks                                                                                      Case No.
                                                                                                                                           (if known)

                          Debtor(s)

                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                    CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.


Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.



      1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services

provided to me.         Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

      2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services

provided to me.         You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.



     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now.         [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
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B 1D (Official Form 1, Exhibit D) (12/09)
                                       UNITED               STATES BANKRUPTCY COURT
                                                        NORTHERN DISTRICT OF ILLINOIS
                                                         EASTERN DIVISION (CHICAGO)
In re:     Yarnell M. Hicks                                                                                      Case No.
                                                                                                                                       (if known)

                        Debtor(s)

                 EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
                                                                       Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:                            [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

                Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
                be incapable of realizing and making rational decisions with respect to financial responsibilites.);



                Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
                effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);



                Active military duty in a military combat zone.


    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.




Signature of Debtor:       /s/ Yarnell M. Hicks
                          Yarnell M. Hicks

Date:          7/14/2015
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B6A (Official Form 6A) (12/07)



In re   Yarnell M. Hicks                                                                   Case No.
                                                                                                                             (if known)



                                                 SCHEDULE A - REAL PROPERTY




                                                                                                 Husband, Wife, Joint,
                                                                                                                          Current Value




                                                                                                  or Community
                                                                                                                            of Debtor's
                           Description and                          Nature of Debtor's
                                                                                                                            Interest in
                             Location of                            Interest in Property
                              Property
                                                                                                                         Property, Without    Amount Of
                                                                                                                          Deducting Any      Secured Claim
                                                                                                                          Secured Claim
                                                                                                                           or Exemption


   None




                                                                                              Total:             $0.00
                                                                                              (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)



In re   Yarnell M. Hicks                                                                      Case No.
                                                                                                         (if known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                               Husband, Wife, Joint,
                                                                                                                                       Current Value of




                                                                                                                 or Community
                                                                                                                                       Debtor's Interest
                                                                                                                                          in Property,

                                            None
                                                                                                                                       Without Deducting
               Type of Property                                   Description and Location of Property                                   any Secured
                                                                                                                                           Claim or
                                                                                                                                          Exemption


1. Cash on hand.                            X

2. Checking, savings or other finan-               5/3 Checking Account                                             -                          $400.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-      X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,                Ordinary furniture, appliances, electronics, etc.                -                        $1,000.00
including audio, video and computer
equipment.

5. Books; pictures and other art            X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                                Ordinary Clothing                                                -                          $500.00



7. Furs and jewelry.                               Costume jewelry, watch                                           -                          $200.00


8. Firearms and sports, photo-              X
graphic, and other hobby equipment.

9. Interests in insurance policies.         X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name             X
each issuer.
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B6B (Official Form 6B) (12/07) -- Cont.



In re   Yarnell M. Hicks                                                              Case No.
                                                                                                   (if known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                         Husband, Wife, Joint,
                                                       Continuation Sheet No. 1

                                                                                                                                 Current Value of




                                                                                                           or Community
                                                                                                                                 Debtor's Interest
                                                                                                                                    in Property,

                                            None
                                                                                                                                 Without Deducting
               Type of Property                             Description and Location of Property                                   any Secured
                                                                                                                                     Claim or
                                                                                                                                    Exemption




11. Interests in an education IRA as        X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,         X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-         X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint      X
ventures. Itemize.

15. Government and corporate bonds          X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                    X

17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.
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B6B (Official Form 6B) (12/07) -- Cont.



In re   Yarnell M. Hicks                                                                    Case No.
                                                                                                           (if known)



                                           SCHEDULE B - PERSONAL PROPERTY




                                                                                                                 Husband, Wife, Joint,
                                                            Continuation Sheet No. 2

                                                                                                                                         Current Value of




                                                                                                                   or Community
                                                                                                                                         Debtor's Interest
                                                                                                                                            in Property,

                                            None
                                                                                                                                         Without Deducting
               Type of Property                                   Description and Location of Property                                     any Secured
                                                                                                                                             Claim or
                                                                                                                                            Exemption




19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-                  Potential Personal Injury Claim from Auto Accident of              -                      $15,000.00
dated claims of every nature,                      4/2014.
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,          X
and other vehicles and accessories.

26. Boats, motors, and accessories.         X
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B6B (Official Form 6B) (12/07) -- Cont.



In re   Yarnell M. Hicks                                                             Case No.
                                                                                                          (if known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                Husband, Wife, Joint,
                                                      Continuation Sheet No. 3

                                                                                                                                        Current Value of




                                                                                                                  or Community
                                                                                                                                        Debtor's Interest
                                                                                                                                           in Property,

                                           None
                                                                                                                                        Without Deducting
               Type of Property                            Description and Location of Property                                           any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption




27. Aircraft and accessories.              X

28. Office equipment, furnishings,         X
and supplies.

29. Machinery, fixtures, equipment,        X
and supplies used in business.

30. Inventory.                             X

31. Animals.                               X

32. Crops - growing or harvested.          X
Give particulars.

33. Farming equipment and                  X
implements.

34. Farm supplies, chemicals, and          X
feed.

35. Other personal property of any         X
kind not already listed. Itemize.




                                                                    3      continuation sheets attached   Total >                           $17,100.00
  (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
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B6C (Official Form 6C) (4/13)



In re   Yarnell M. Hicks                                                                   Case No.
                                                                                                                 (If known)



                                    SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                $155,675.*
    11 U.S.C. § 522(b)(2)
    11 U.S.C. § 522(b)(3)




                                                                                                                                  Current
                                                                                                                              Value of Property
                                                              Specify Law Providing Each              Value of Claimed
                                                                                                                              Without Deducting
                Description of Property                               Exemption                         Exemption
                                                                                                                                 Exemption




 5/3 Checking Account                                  735 ILCS 5/12-1001(b)                                   $400.00                 $400.00

 Ordinary furniture, appliances, electronics, etc.     735 ILCS 5/12-1001(b)                                 $1,000.00               $1,000.00

 Ordinary Clothing                                     735 ILCS 5/12-1001(a), (e)                              $500.00                 $500.00

 Costume jewelry, watch                                735 ILCS 5/12-1001(b)                                   $200.00                 $200.00

 Potential Personal Injury Claim from Auto             735 ILCS 5/12-1001(h)(4)                            $15,000.00               $15,000.00
 Accident of 4/2014.




* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases           $17,100.00               $17,100.00
commenced on or after the date of adjustment.
             Case 15-23948               Doc 1               Filed 07/14/15 Entered 07/14/15 11:10:45                                  Desc Main
                                                              Document     Page 12 of 39
B6D (Official Form 6D) (12/07)
          In re Yarnell M. Hicks                                                                         Case No.
                                                                                                                                       (if known)



                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS




                                                            HUSBAND, WIFE, JOINT,
                                  Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                                                                 UNLIQUIDATED
                                                              OR COMMUNITY




                                                                                                                 CONTINGENT
            CREDITOR'S NAME AND                                                      DATE CLAIM WAS                               AMOUNT OF           UNSECURED




                                                 CODEBTOR




                                                                                                                  DISPUTED
               MAILING ADDRESS                                                      INCURRED, NATURE                                  CLAIM           PORTION, IF
           INCLUDING ZIP CODE AND                                                     OF LIEN, AND                                   WITHOUT               ANY
             AN ACCOUNT NUMBER                                                      DESCRIPTION AND                               DEDUCTING
             (See Instructions Above.)                                                  VALUE OF                                     VALUE OF
                                                                                    PROPERTY SUBJECT                              COLLATERAL
                                                                                         TO LIEN




                                                                                       Subtotal (Total of this Page) >                    $0.00                   $0.00
                                                                                       Total (Use only on last page) >                    $0.00                   $0.00
________________continuation
      No                     sheets attached                                                                                    (Report also        (If applicable,
                                                                                                                                on                  report also on
                                                                                                                                Summary of          Statistical
                                                                                                                                Schedules.)         Summary of
                                                                                                                                                    Certain
                                                                                                                                                    Liabilities
                     Case 15-23948                 Doc 1          Filed 07/14/15 Entered 07/14/15 11:10:45                                     Desc Main
                                                                   Document     Page 13 of 39
B6E (Official Form 6E) (04/13)

In re     Yarnell M. Hicks                                                                                            Case No.
                                                                                                                                              (If Known)



                            SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                                  (Check the appropriate box(es) below if claims in that category are listed on the attached sheet
        Domestic Support Obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent,
        legal guardian,
        or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to


        Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but
        before the earlier of

        Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions
        owing to
        qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the


        Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original
        petition, or the


        Certain farmers and fishermen
        Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. §


        Deposits by individuals
        Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or
        household use,


        Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)


        Commitments to Maintain the Capital of an Insured Depository Institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or
        Board of Governors
        of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository


        Claims for Death or Personal Injury While Debtor Was Intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated
        from using


        Administrative allowances under 11 U.S.C. Sec. 330
        Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional
        person employed


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the
date of

________________continuation
       1                     sheets attached
               Case 15-23948                   Doc 1                                 Filed 07/14/15 Entered 07/14/15 11:10:45                     Desc Main
                                                                                      Document     Page 14 of 39
B6E (Official Form 6E) (04/13) - Cont.
In re   Yarnell M. Hicks                                                                                                 Case No.
                                                                                                                                                (If Known)



                            SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS




                                                             HUSBAND, WIFE, JOINT,
                       TYPE OF PRIORITY        Administrative allowances




                                                                                                                     UNLIQUIDATED
                                                               OR COMMUNITY




                                                                                                                     CONTINGENT
                                                  CODEBTOR




                                                                                                                      DISPUTED
              CREDITOR'S NAME,                                                                  DATE CLAIM WAS                      AMOUNT        AMOUNT      AMOUNT
              MAILING ADDRESS                                                                     INCURRED                            OF          ENTITLED      NOT
            INCLUDING ZIP CODE,                                                           AND CONSIDERATION FOR                      CLAIM           TO       ENTITLED
                                                                                                      CLAIM                                                      TO
           AND ACCOUNT NUMBER
                                                                                                                                                              PRIORITY,
            (See instructions above.)

ACCT #:                                                                              DATE INCURRED:   07/06/2015
                                                                                     CONSIDERATION:
Schottler & Associates                                                                                                              $4,000.00     $4,000.00           $0.00
                                                                                     Attorney Fees
7222 W. Cermak                                                                       REMARKS:
Suite 701                                                           -
North Riverside, IL 60546




            1
Sheet no. __________  of 1__________ continuation Subtotals
                                                    sheets (Totals of this page) >                                                  $4,000.00     $4,000.00           $0.00
attached to Schedule of Creditors Holding Priority Claims                  Total >                                                  $4,000.00
                                          (Use only on last page of the completed Schedule
                                          E.

                                                                                                                   Totals >                       $4,000.00           $0.00
                                          (Use only on last page of the completed Schedule
                                          E.
                                          If applicable, report also on the Statistical
            Case 15-23948                  Doc 1   Filed 07/14/15 Entered 07/14/15 11:10:45                                                           Desc Main
                                                    Document     Page 15 of 39
B6F (Official Form 6F) (12/07)
  In re Yarnell M. Hicks                                                                                                 Case No.
                                                                                                                                           (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                HUSBAND, WIFE, JOINT,
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                                                                                                   UNLIQUIDATED
                                                                  OR COMMUNITY




                                                                                                                                                   CONTINGENT
                 CREDITOR'S NAME,                                                                           DATE CLAIM WAS                                        AMOUNT OF




                                                     CODEBTOR




                                                                                                                                                    DISPUTED
                 MAILING ADDRESS                                                                            INCURRED AND                                            CLAIM
                INCLUDING ZIP CODE,                                                                       CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                               CLAIM.
               (See instructions above.)                                                                 IF CLAIM IS SUBJECT TO
                                                                                                           SETOFF, SO STATE.



ACCT #:                                                                                 DATE INCURRED:
                                                                                        CONSIDERATION:
City of Chicago                                                                         Violations                                                                 Notice Only
Attn. Corporation Counsel                                                               REMARKS:
                                                                   -
121 North LaSalle St.
Room 511
Chicago, IL 60602
ACCT #: xxxx-xxxx-x1115                                                                 DATE INCURRED:
                                                                                        CONSIDERATION:
City of Chicago                                                                         Parking Tickets & Violations                                                $15,448.30
Department of Revenue                                                                   REMARKS:
PO BOX 88292                                                       -
Chicago, IL 60680-1292

ACCT #:                                                                                 DATE INCURRED:
                                                                                        CONSIDERATION:
Debt Recovery Solutions                                                                 Collecting for- US Cellular                                                    $298.00
900 Merchants Conc.                                                                     REMARKS:
                                                                   -
Suite 106
Westbury, NY 11590

ACCT #:                                                                                 DATE INCURRED:
                                                                                        CONSIDERATION:
Enhanced Recovery Company                                                               Collecting for - US Cellular                                                   $324.00
PO Box 57547                                                                            REMARKS:
JACKSONVILLE, FL 32241                                             -



ACCT #:                                                                                 DATE INCURRED:
                                                                                        CONSIDERATION:
Illinois Tollway                                                                        Violations                                                                     $285.00
Attn: Violation Administration Center                                                   REMARKS:
                                                                   -
2700 Ogden Avenue
Downers Grove, IL 60515-1703

ACCT #:                                                                                 DATE INCURRED:
                                                                                        CONSIDERATION:
JVDB ASSOCIATES                                                                         Collecting for - Car Town                                                  Notice Only
POB 5718                                                                                REMARKS:
ELGIN, IL 60121                                                    -                                                                                       X



                                                                                                                                            Subtotal >              $16,355.30
                                                                                                                                                    Total >
                                                                                                     (Use only on last page of the completed Schedule F.)
________________continuation
       2                     sheets attached                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
            Case 15-23948                   Doc 1   Filed 07/14/15 Entered 07/14/15 11:10:45                                                           Desc Main
                                                     Document     Page 16 of 39
B6F (Official Form 6F) (12/07) - Cont.
  In re Yarnell M. Hicks                                                                                                   Case No.
                                                                                                                                             (if known)



                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                 HUSBAND, WIFE, JOINT,




                                                                                                                                                    UNLIQUIDATED
                                                                   OR COMMUNITY




                                                                                                                                                    CONTINGENT
                 CREDITOR'S NAME,                                                                            DATE CLAIM WAS                                        AMOUNT OF




                                                      CODEBTOR




                                                                                                                                                     DISPUTED
                  MAILING ADDRESS                                                                             INCURRED AND                                           CLAIM
                INCLUDING ZIP CODE,                                                                        CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                                 CLAIM.
                (See instructions above.)                                                                 IF CLAIM IS SUBJECT TO
                                                                                                            SETOFF, SO STATE.



ACCT #:                                                                                  DATE INCURRED:
                                                                                         CONSIDERATION:
MCSI                                                                                     Collecting for - Village of Bellwood                                           $250.00
7330 College Dr.                                                                         REMARKS:
                                                                    -
Palos Heights, IL 60463



ACCT #:                                                                                  DATE INCURRED:
                                                                                         CONSIDERATION:
Merchants Credit Guide                                                                   Medical Bills                                                                   $51.00
223 W. Jackson Blvd.                                                                     REMARKS:
Suite 900                                                           -
Chicago, IL 60606

ACCT #:                                                                                  DATE INCURRED:
                                                                                         CONSIDERATION:
NCO Financial                                                                            Collecting for - Illinois Tollway                                          Notice Only
PO Box 41466                                                                             REMARKS:
                                                                    -
Philadelphia, PA 19101



ACCT #:                                                                                  DATE INCURRED:
                                                                                         CONSIDERATION:
Nelnet LNS                                                                               Collection                                                                 Notice Only
3015 S. Parker Rd. Ste 400                                                               REMARKS:
Aurora, CO 80014                                                    -                                                                                       X



ACCT #:                                                                                  DATE INCURRED:
                                                                                         CONSIDERATION:
Peoples Gas                                                                              Utility Bills                                                              Notice Only
130 E. Randolph St.                                                                      REMARKS:
                                                                    -                                                                                       X
Chicago, IL 60601



ACCT #:                                                                                  DATE INCURRED:
                                                                                         CONSIDERATION:
State of Illinois                                                                        Violations                                                                          $0.00
Safety & Responsibility Section                                                          REMARKS:
2701 Dirksen Parkway                                                -
Springfield, IL 62723

            1
Sheet no. __________   of 2__________ continuation sheets attached to                                                                         Subtotal >                $301.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                                      Total >
                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                Statistical Summary of Certain Liabilities and Related Data.)
            Case 15-23948                   Doc 1   Filed 07/14/15 Entered 07/14/15 11:10:45                                                           Desc Main
                                                     Document     Page 17 of 39
B6F (Official Form 6F) (12/07) - Cont.
  In re Yarnell M. Hicks                                                                                                  Case No.
                                                                                                                                            (if known)



                      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                 HUSBAND, WIFE, JOINT,




                                                                                                                                                    UNLIQUIDATED
                                                                   OR COMMUNITY




                                                                                                                                                    CONTINGENT
                 CREDITOR'S NAME,                                                                            DATE CLAIM WAS                                        AMOUNT OF




                                                      CODEBTOR




                                                                                                                                                     DISPUTED
                  MAILING ADDRESS                                                                            INCURRED AND                                            CLAIM
                INCLUDING ZIP CODE,                                                                        CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                                CLAIM.
                (See instructions above.)                                                                 IF CLAIM IS SUBJECT TO
                                                                                                            SETOFF, SO STATE.



ACCT #:                                                                                  DATE INCURRED:
                                                                                         CONSIDERATION:
U.S Department of Education                                                              Student Loan                                                               Notice Only
PO BOX 530260                                                                            REMARKS:
                                                                    -                                                                                       X
Atlanta, GA 30353-0260



ACCT #:                                                                                  DATE INCURRED:
                                                                                         CONSIDERATION:
Village of Bellwood                                                                      Parking Tickets                                                            Notice Only
3200 Washington Blvd.                                                                    REMARKS:
Bellwood, IL 60104                                                  -




            2
Sheet no. __________   of 2__________ continuation sheets attached to                                                                        Subtotal >                      $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                                     Total >         $16,656.30
                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                Statistical Summary of Certain Liabilities and Related Data.)
                 Case 15-23948                    Doc 1          Filed 07/14/15 Entered 07/14/15 11:10:45                                            Desc Main
                                                                  Document     Page 18 of 39
B6G (Official Form 6G) (12/07)
    In re   Yarnell M. Hicks                                                                                         Case No.
                                                                                                                                           (if known)



                           SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



     Check this box if debtor has no executory contracts or unexpired leases.
                                                                                                 DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                                                 INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
                    NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
                      OF OTHER PARTIES TO LEASE OR CONTRACT.                                     CONTRACT.




    L. Christianson                                                                              Residential Lease
    2918 W. Flournoy                                                                             Contract to be ASSUMED
    Chicago, Illinois
                    Case 15-23948               Doc 1          Filed 07/14/15 Entered 07/14/15 11:10:45                                       Desc Main
                                                                Document     Page 19 of 39
B6H (Official Form 6H) (12/07)
In re   Yarnell M. Hicks                                                                                          Case No.
                                                                                                                                           (if known)



                                                                SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts
listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse
who resides or

     Check this box if debtor has no codebtors.
                           NAME AND ADDRESS OF CODEBTOR                                                                 NAME AND ADDRESS OF CREDITOR
             Case 15-23948                  Doc 1          Filed 07/14/15 Entered 07/14/15 11:10:45                                         Desc Main
                                                            Document     Page 20 of 39
  Fill in this information to identify your case:
     Debtor 1                  Yarnell                M.                        Hicks
                               First Name             Middle Name               Last Name
                                                                                                                   Check if this is:
     Debtor 2                                                                                                           An amended filing
     (Spouse, if filing)       First Name             Middle Name               Last Name

                                                                                                                        A supplement showing post-petition
                                          NORTHERN DISTRICT OF ILLINOIS
     United States Bankruptcy Court for the:
                                                                                                                        chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                        MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                                     12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include
information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write


  Part 1:         Describe Employment
1.    Fill in your employment
      information.                                                     Debtor 1                                          Debtor 2 or non-filing spouse
      If you have more than
      one                                   Employment status                 Employed                                           Employed
      job, attach a separate                                                  Not employed                                       Not employed
      page
      with information about                Occupation                 Laborer
      additional employers.
                                            Employer's name            Nickelson Industrial Service, Inc.
      Include part-time,
      seasonal,                             Employer's address 8501 S Baltimore Ave
      or self-employed work.                                           Number    Street                                  Number    Street




                                                                       Chicago                     IL       60617
                                                                       City                        State    Zip Code     City                   State   Zip Code


                                            How long employed there? 1 month


  Part 2:         Give Details About Monthly Income
Estimate monthly income as of the date you file this form.
                                                     If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the
lines below. If

                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse

2.    List monthly gross wages, salary, and commissions   (before all      2.                              $2,717.87
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                               3. +               $0.00

4.    Calculate gross income.Add line 2 + line 3.                                           4.             $2,717.87




Official Form B 6I                                                  Schedule I: Your Income                                                                 page 1
            Case 15-23948                        Doc 1          Filed 07/14/15 Entered 07/14/15 11:10:45                                              Desc Main
                                                                 Document     Page 21 of 39
Debtor 1 Yarnell                            M.                         Hicks                                              Case number (if known)
           First Name                       Middle Name                     Last Name


                                                                                                             For Debtor 1                   For Debtor 2 or
                                                                                                                                            non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                    4.            $2,717.87
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                5a.             $537.85
     5b. Mandatory contributions for retirement plans                                                 5b.               $0.00
     5c. Voluntary contributions for retirement plans                                                 5c.               $0.00
     5d. Required repayments of retirement fund loans                                                 5d.               $0.00
     5e. Insurance                                                                                    5e.               $0.00
     5f. Domestic support obligations                                                                 5f.               $0.00
     5g. Union dues                                                                                   5g.             $101.92
     5h. Other deductions.
          Specify:                                                                                    5h.+               $0.00
6.   Add the payroll deductions.Add lines 5a + 5b + 5c + 5d + 5e + 5f +6.                                             $639.77
     5g + 5h.
7.   Calculate total monthly take-home pay.Subtract line 6 from line 4. 7.                                         $2,078.10
8.   List all other income regularly received:
     8a. Net income from rental property and from operating                                           8a.                $0.00
           a
           Attach a statement for each property and business
           showing
           gross receipts, ordinary and necessary business

     8b. Interest and dividends                                                                       8b.                $0.00
     8c. Family support payments that you, a non-filing spouse, or                                    8c.                $0.00
           a
           Include alimony, spousal support, child support,
           maintenance,

     8d. Unemployment compensation                                                                    8d.                $0.00
     8e. Social Security                                                                              8e.                $0.00
     8f. Other government assistance that you regularly receive
           Include cash assistance and the value (if known) or any
           non-
           cash assistance that you receive, such as food stamps
           (benefits under the Supplemental Nutrition Assistance
           Specify:                                                                                   8f.                $0.00
     8g. Pension or retirement income                                                                 8g.                $0.00
     8h. Other monthly income.
         Specify:                                                                                     8h.+               $0.00

9.   Add all other income.Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.
                                                                        9.                                               $0.00

10. Calculate monthly income.    Add line 7 + line 9.                     10.                                      $2,078.10          +                    =       $2,078.10
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates,
     and other
     friends or relatives.



     Specify:                                                                                                                                         11. +            $0.00

12. Add the amount in the last column of line 10 to the amount in line
                                                                   The 11.
                                                                        result is the combined monthly 12.                                                         $2,078.10
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                Combined
                                                                                                                                                                monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.

        Yes. Explain:



Official Form B 6I                                                        Schedule I: Your Income                                                                      page 2
             Case 15-23948                 Doc 1        Filed 07/14/15 Entered 07/14/15 11:10:45                                   Desc Main
                                                         Document     Page 22 of 39
 Fill in this information to identify your case:
                                                                                                            Check if this is:
     Debtor 1                 Yarnell              M.                      Hicks                               An amended filing
                              First Name           Middle Name             Last Name
                                                                                                               A supplement showing post-petition
     Debtor 2                                                                                                  chapter 13 expenses as of the
     (Spouse, if filing)      First Name           Middle Name             Last Name                           following date:

                                          NORTHERN DISTRICT OF ILLINOIS
     United States Bankruptcy Court for the:                                                                     MM / DD / YYYY
     Case number                                                                                                 A separate filing for Debtor 2 because
     (if known)                                                                                                  Debtor 2 maintains a separate household

Official Form B 6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for
supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write


 Part 1:           Describe Your Household
1.     Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file a separate Schedule J.
2.     Do you have dependents?                 No
       Do not list Debtor 1 and                Yes. Fill out this information Dependent's relationship to Dependent's Does dependent
                                                                                  Debtor 1 or Debtor 2
                                               for each dependent...................................      age         live with you?
       Debtor 2.
                                                                                  Son                     19               No
                                                                                                                           Yes
       Do not state the
       dependents' names.                                                              Daughter                            18                  No
                                                                                                                                               Yes
                                                                                                                                               No
                                                                                                                                               Yes
                                                                                                                                               No
                                                                                                                                               Yes
                                                                                                                                               No
                                                                                                                                               Yes
3.     Do your expenses include                         No
       expenses of people other than
                                                        Yes
       yourself and your dependents?


 Part 2:           Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13
case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                          Your expenses

4.     The rental or home ownership expenses for your residence.                                                         4.                     $500.00
       Include first mortgage payments and any rent for the ground or lot.
       If not included in line 4:

       4a. Real estate taxes                                                                                             4a.
       4b. Property, homeowner's, or renter's insurance                                                                  4b.

       4c. Home maintenance, repair, and upkeep expenses                                                                 4c.

       4d. Homeowner's association or condominium dues                                                                   4d.




 Official Form B 6J                                              Schedule J: Your Expenses                                                           page 1
            Case 15-23948                  Doc 1       Filed 07/14/15 Entered 07/14/15 11:10:45                 Desc Main
                                                        Document     Page 23 of 39
Debtor 1 Yarnell                      M.                         Hicks                    Case number (if known)
           First Name                 Middle Name                Last Name


                                                                                                            Your expenses

5.    Additional mortgage payments for your residence,
                                                  such as home equity loans                           5.
6.    Utilities:
      6a. Electricity, heat, natural gas                                                              6a.                   $200.00

      6b. Water, sewer, garbage collection                                                            6b.

      6c. Telephone, cell phone, Internet, satellite, and                                             6c.                   $148.00
          cable services
      6d. Other. Specify:                                                                             6d.


7.    Food and housekeeping supplies                                                                  7.                    $345.00
8.    Childcare and children's education costs                                                        8.

9.    Clothing, laundry, and dry cleaning                                                             9.                     $75.00
10. Personal care products and services                                                               10.                    $75.00

11. Medical and dental expenses                                                                       11.                   $150.00

12. Transportation.Include gas, maintenance, bus or train                                             12.                   $300.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                     13.                    $25.00
    magazines, and books
14. Charitable contributions and religious donations                                                  14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                             15a.

      15b. Health insurance                                                                           15b.

      15c. Vehicle insurance                                                                          15c.                   $85.00

      15d. Other insurance. Specify:                                                                  15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                          16.

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                 17a.
      17b. Car payments for Vehicle 2                                                                 17b.

      17c. Other. Specify:                                                                            17c.

      17d. Other. Specify:                                                                            17d.

18.   Your payments of alimony, maintenance, and support that you did not report as                   18.
      deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).



19. Other payments you make to support others who do not live with you.
    Specify:                                                                                          19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
      20a. Mortgages on other property                                                                20a.

      20b. Real estate taxes                                                                          20b.

      20c. Property, homeowner's, or renter's insurance                                               20c.

      20d. Maintenance, repair, and upkeep expenses                                                   20d.

      20e. Homeowner's association or condominium dues                                                20e.


 Official Form B 6J                                           Schedule J: Your Expenses                                       page 2
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Debtor 1 Yarnell                       M.                           Hicks                                 Case number (if known)
         First Name                    Middle Name                  Last Name


21. Other. Specify:                                                                                                   21.
                                                                                                                             +
22. Your monthly expenses.Add lines 4 through 21.
    The result is your monthly expenses.                                                                              22.               $1,903.00

23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                                 23a.              $2,078.10

    23b. Copy your monthly expenses from line 22 above.                                                               23b. –            $1,903.00

    23c. Subtract your monthly expenses from your monthly income.
         The result is your monthly net income.                                                                       23c.               $175.10

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage


         No.
         Yes. Explain here:




 Official Form B 6J                                              Schedule J: Your Expenses                                                   page 3
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B 6 Summary (Official Form 6 - Summary) (12/14)
                                                         UNITED STATES BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF ILLINOIS
                                                            EASTERN DIVISION (CHICAGO)
   In re   Yarnell M. Hicks                                                                                       Case No.

                                                                                                                  Chapter           13



                                                                 SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.




                                                      ATTACHED NO. OF
 NAME OF SCHEDULE                                                                               ASSETS                        LIABILITIES              OTHER
                                                       (YES/NO) SHEETS

 A - Real Property                                         Yes             1                                   $0.00


 B - Personal Property                                     Yes             4                           $17,100.00


 C - Property Claimed                                      Yes             1
     as Exempt
 D - Creditors Holding                                     Yes             1                                                                 $0.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                                       Yes             2                                                              $4,000.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                           Yes             3                                                             $16,656.30
     Nonpriority Claims
 G - Executory Contracts and                               Yes             1
    Unexpired Leases

 H - Codebtors                                             Yes             1


 I - Current Income of                                     Yes             2                                                                               $2,078.10
     Individual Debtor(s)

 J - Current Expenditures of                               Yes             3                                                                               $1,903.00
    Individual Debtor(s)

                                                       TOTAL               19                           $17,100.00                       $20,656.30
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B 6 Summary (Official Form 6 - Summary) (12/14)
                                                         UNITED STATES BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF ILLINOIS
                                                            EASTERN DIVISION (CHICAGO)
   In re   Yarnell M. Hicks                                                                                   Case No.

                                                                                                              Chapter           13



       STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
     information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                                           Amount

 Domestic Support Obligations (from Schedule E)                                                            $0.00

 Taxes and Certain Other Debts Owed to Governmental Units
                                                                                                           $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                                           $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)


 Student Loan Obligations (from Schedule F)                                                                $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                                           $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                                           $0.00
 Obligations (from Schedule F)


                                                                              TOTAL                        $0.00

State the following:
 Average Income (from Schedule I, Line 12)                                                              $2,078.10

 Average Expenses (from Schedule J, Line 22)                                                            $1,903.00

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form
 22B Line 14; OR, Form 22C-1 Line 14)                                                                   $1,889.08

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                                              $0.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                                                $4,000.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                                            $0.00

 4. Total from Schedule F                                                                                                       $16,656.30

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                   $16,656.30
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B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Yarnell M. Hicks                                                                                         Case No.
                                                                                                                           (if known)



                                       DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                              21
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 7/14/2015                                                                Signature      /s/ Yarnell M. Hicks
                                                                                            Yarnell M. Hicks

Date                                                                          Signature

                                                                              [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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                                                        NORTHERN DISTRICT OF ILLINOIS
                                                          EASTERN DIVISION (CHICAGO)
   In re:     Yarnell M. Hicks                                                                                   Case No.
                                                                                                                                             (if known)



                                                       STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
       debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year
       to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year.
       (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income.
         AMOUNT                         SOURCE
         $12,000.00                     Year to Date - approx.

         $18,000.00                     2014 - approx.

                                        2013

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's
       business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
       each spouse


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
       services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of
       all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a
       creditor on account


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
       DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
       transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a
       domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
       agency.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the
       benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the
       filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR
       immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
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B7 (Official Form 7) (04/13)                           UNITED STATES BANKRUPTCY COURT
                                                          NORTHERN DISTRICT OF ILLINOIS
                                                            EASTERN DIVISION (CHICAGO)
   In re:    Yarnell M. Hicks                                                                                        Case No.
                                                                                                                                                (if known)



                                                         STATEMENT OF FINANCIAL AFFAIRS
                                                                            Continuation Sheet No. 1


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
       foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must



       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the
       commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or


None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately
       preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property



       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except
       ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
       aggregating less than $100




       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this
       case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both



       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
       concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding



       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
       transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors
       filing under chapter



       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-
None
       settled trust or



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold,
       or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other
       financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
       cooperatives, associations,
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B7 (Official Form 7) (04/13)                            UNITED STATES BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF ILLINOIS
                                                             EASTERN DIVISION (CHICAGO)
   In re:    Yarnell M. Hicks                                                                                      Case No.
                                                                                                                                               (if known)



                                                          STATEMENT OF FINANCIAL AFFAIRS
                                                                            Continuation Sheet No. 2


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE
       YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the
       commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.



       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the
       debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
       Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the


       17. Environmental Information
       For the purpose of this question, the following definitions apply:


       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of
       hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
       statutes or
       regulations regulating the cleanup of these substances, wastes, or material.


       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned
       or operated
       by the debtor, including, but not limited to, disposal sites.



None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
       liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if



None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
       Material.




None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to
       which the debtor is
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                                                         NORTHERN DISTRICT OF ILLINOIS
                                                           EASTERN DIVISION (CHICAGO)
   In re:    Yarnell M. Hicks                                                                                      Case No.
                                                                                                                                                (if known)



                                                        STATEMENT OF FINANCIAL AFFAIRS
                                                                           Continuation Sheet No. 3


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and
       beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
       partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately
       preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately
       preceding the commencement of this case.


       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and
       beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. §
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                                                        NORTHERN DISTRICT OF ILLINOIS
                                                          EASTERN DIVISION (CHICAGO)
   In re:    Yarnell M. Hicks                                                                               Case No.
                                                                                                                           (if known)



                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                         Continuation Sheet No. 4


[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 7/14/2015                                                                 Signature            /s/ Yarnell M. Hicks
                                                                               of Debtor            Yarnell M. Hicks

Date                                                                           Signature
                                                                               of Joint Debtor
                                                                               (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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B 201B (Form 201B) (12/09)                          UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF ILLINOIS
                                                       EASTERN DIVISION (CHICAGO)
In re   Yarnell M. Hicks                                                                                         Case No.

                                                                                                                 Chapter            13



                                      CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                          UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Yarnell M. Hicks                                                                       X    /s/ Yarnell M. Hicks                               7/14/2015
                                                                                           Signature of Debtor                                 Date
Printed Name(s) of Debtor(s)
                                                                                       X
Case No. (if known)                                                                        Signature of Joint Debtor (if any)                  Date

                                Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,               Mark R. Schottler                                 , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Mark R. Schottler
Mark R. Schottler, Attorney for Debtor(s)
Bar No.: 6238871
Schottler & Associates
7222 W. Cermak
Suite 701
North Riverside, IL 60546
Phone: (708) 442-5599
Fax: (312) 284-4575




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.
Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.
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FB 201A (Form 201A) (6/14)


                                                      UNITED STATES BANKRUPTCY COURT

                                      NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.


You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.


Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.


1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling

and provides assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies. Each debtor in a joint case must complete the briefing.


In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:          Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.


Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.


The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.


Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.
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Form B 201A, Notice to Consumer Debtor(s)                                                                                                           Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $75 administrative fee: Total fee $310)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.


Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.


3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.


WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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                                                     UNITED STATES BANKRUPTCY COURT
                                                       NORTHERN DISTRICT OF ILLINOIS
                                                        EASTERN DIVISION (CHICAGO)
IN RE:       Yarnell M. Hicks                                                                                     CASE NO

                                                                                                                 CHAPTER                13

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
     that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
     services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
     is as follows:


     For legal services, I have agreed to accept:                                                                                $4,000.00
     Prior to the filing of this statement I have received:                                                                              $0.00
     Balance Due:                                                                                                                $4,000.00

2. The source of the compensation paid to me was:
                      Debtor                             Other (specify)

3. The source of compensation to be paid to me is:
                      Debtor                             Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.



5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;
     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;



6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.




                           7/14/2015                                      /s/ Mark R. Schottler
                             Date                                         Mark R. Schottler                                              Bar No. 6238871
                                                                          Schottler & Associates
                                                                          7222 W. Cermak
                                                                          Suite 701
                                                                          North Riverside, IL 60546
                                                                          Phone: (708) 442-5599 / Fax: (312) 284-4575




      /s/ Yarnell M. Hicks
     Yarnell M. Hicks
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                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION (CHICAGO)
  IN RE:   Yarnell M. Hicks                                                       CASE NO

                                                                                 CHAPTER    13

                                    VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 7/14/2015                                          Signature    /s/ Yarnell M. Hicks
                                                                    Yarnell M. Hicks



Date                                                    Signature
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                        City of Chicago
                        Attn. Corporation Counsel
                        121 North LaSalle St.
                        Room 511

                        City of Chicago
                        Department of Revenue
                        PO BOX 88292
                        Chicago, IL 60680-1292

                        Debt Recovery Solutions
                        900 Merchants Conc.
                        Suite 106
                        Westbury, NY 11590

                        Enhanced Recovery Company
                        PO Box 57547
                        JACKSONVILLE, FL 32241



                        Illinois Tollway
                        Attn: Violation Administration Center
                        2700 Ogden Avenue
                        Downers Grove, IL 60515-1703

                        JVDB ASSOCIATES
                        POB 5718
                        ELGIN, IL 60121



                        L. Christianson
                        2918 W. Flournoy
                        Chicago, Illinois



                        MCSI
                        7330 College Dr.
                        Palos Heights, IL 60463



                        Merchants Credit Guide
                        223 W. Jackson Blvd.
                        Suite 900
                        Chicago, IL 60606
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                        NCO Financial
                        PO Box 41466
                        Philadelphia, PA 19101



                        Nelnet LNS
                        3015 S. Parker Rd. Ste 400
                        Aurora, CO 80014



                        Peoples Gas
                        130 E. Randolph St.
                        Chicago, IL 60601



                        Schottler & Associates
                        7222 W. Cermak
                        Suite 701
                        North Riverside, IL 60546

                        State of Illinois
                        Safety & Responsibility Section
                        2701 Dirksen Parkway
                        Springfield, IL 62723

                        U.S Department of Education
                        PO BOX 530260
                        Atlanta, GA 30353-0260



                        Village of Bellwood
                        3200 Washington Blvd.
                        Bellwood, IL 60104
